AQ 245B (NCMD Rev. 01/20) Sheet 1 - Judgment in a Criminal Case

United States District Court
Middle District of North Carolina

UNITED STATES OF AMERICA JUDGMENT IN A CRIMINAL CASE
. Case Number: 1:20-CR-00500-* 4

EDWARD LAMONT GLOVER
USM Number: 24602-509

Peter D. Zellmer

Defendant's Attorney
THE DEFENDANT:
pleaded guilty to count 3.
_] pleaded nolo contendere to count(s) which was accepted by the court.
L] was found guilty on count(s) after a plea of not guilty.
The defendant is adjudicated guilty of these offenses:
Title & Section Nature of Offense Offense Ended Count
18:922(g)(1) and 924(e) Felon in Possession of Firearms 05/22/2020 3

The defendant is sentenced as provided in pages 2 through 8 of this judgment. The sentence is imposed pursuant to the Sentencing
Reform Act of 1984.

[] The defendant has been found not guilty on count(s)
Counts 1 and 2 are dismissed on the motion of the United States.

IT IS ORDERED that the defendant shall notify the United States Attorney for this district within 30 days of any change of name,
residence, or mailing address until all fines, restitution, costs, and special assessments imposed by this judgment are fully paid. If ordered to
pay restitution, the defendant shall notify the court and United States attorney of any material change in the economic circumstances.

June 28, 2021

Date of Imposition of Judgment

hb) ce be Us tue MM:

Signature of Judge

William L. Osteen, Jr., United States Magistrate Judge

Name & Title of Judge

11 OU

Date

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AO 245B (NCMD Rev. 01/20) Sheet 2 - Imprisonment . Page 2 of 8

DEFENDANT: EDWARD LAMONT GLOVER
CASE NUMBER: 1:20-CR-00500-1

IMPRISONMENT

The defendant is hereby committed to the custody of the United States Bureau of Prisons to be imprisoned for a total term of: 180 months.

The court makes the following recommendations to the Bureau of Prisons: That the defendant be designated to a facility where he may

participate in an intensive substance abuse treatment program and to a facility as close to his home in Orange County, North Carolina,
as possible.

The defendant is remanded to the custody of the United States Marshal.

[] The defendant shali surrender to the United States Marshal for this district.
LI at am/pm on

TC as notified by the United States Marshal.

(1 The defendant shall surrender for service of sentence at the institution designated by the Bureau of Prisons:
C] before2pmon .
C1 as notified by the United States Marshal.

[1 as notified by the Probation or Pretrial Services Office.

RETURN

| have executed this judgment as follows:

Defendant delivered on to at

’ with a certified copy of this judgment.

UNITED STATES MARSHAL

BY

DEPUTY UNITED STATES MARSHAL

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AG 245B (NCMD Rev. 01/20) Sheet 3 - Supervised Release Page 3 of 8

DEFENDANT: EDWARD LAMONT GLOVER
CASE NUMBER: 4:20-CR-00500-1

SUPERVISED RELEASE

Upon release from imprisonment, you will be on supervised release for a term of: Five (5) years.

onN>

MANDATORY CONDITIONS

You must not commit another federal, state or local crime.

You must not unlawfully possess a controlled substance

You must refrain from any unlawful use of a controlled substance. You must submit to one drug test within 15 days of release from
imprisonment and at least two periodic drug tests thereafter, as determined by the court.

C] The above drug testing condition is suspended based on the court's determination that the defendant poses a low risk of
future substance abuse. (Check, if applicable.)

C You must make restitution in accordance with 18 U.S.C §§ 3663 and 3663A or any other statute authorizing a sentence of
restitution. (check if applicable)

You must cooperate in the collection of DNA as directed by the probation officer. (Check, if applicable.)

C1 You must comply with the requirements of the Sex Offender Registration and Notification Act (34 U.S.C § 20901, ef seq.) as
directed by the probation officer, the Bureau of Prisons, or any state sex offender registration agency in which you reside, work, are a
student, or were convicted of a qualifying offense. (Check, if applicable.) '

1 You must participate in an approved program for domestic violence. (Check, if applicable.)

You must comply with the standard conditions that have been adopted by this court as well as with any other conditions on the attached
page.

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AO 245B (NCMD Rev. 01/20) Sheet 3A - Supervised Release Page 4cf8

DEFENDANT: EDWARD LAMONT GLOVER
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STANDARD CONDITIONS OF SUPERVISION

As part of your supervised release, you must comply with the following standard conditions of supervision. These conditions are imposed
because they establish the basic expectations for your behavior while on supervision and identify the minimum tools needed by probation
officers to keep informed, report to the court about, and bring about improvements in your conduct and condition.

1. You must report fo the probation office in the federal judicial district where you are authorized to reside within 72 hours of your release
from imprisonment, unless the probation officer instructs you to report to a different probation office or within a different time frame.

2. After initially reporting to the probation office, you will receive instructions from the court or the probation officer about how and when you
must report to the probation officer, and you must report to the probation officer as instructed.

3. You must not knowingly leave the federal judicial district where you are authorized to reside without first getting permission from the court
or the probation officer.

4, You must answer truthfully the questions asked by your probation officer.

5. You must live at a place approved by the probation officer. If you plan to change where you live or anything about your living

arrangements (such as the people you live with), you must notify the probation officer at least 10 days before the change. If notifying the
probation officer in advance is not possible due to unanticipated circumstances, you must notify the probation officer within 72 hours of
becoming aware of a change or expected change.

6. You must allow the probation officer to visit you at any time at your home or elsewhere, and you must permit the probation officer to take
any items prohibited by the conditions of your supervision that he or she observes in plain view.
7. You must work full time (at least 30 hours per week) at a lawful type of employment, unless the probation officer excuses you from doing

so. If you do not have full-time employment you must try to find full-time employment, unless the probation officer excuses you from doing
so. If you plan to change where you work or anything about your work (such as your position or your job responsibilities), you must notify
the probation officer at least 10 days before the change. If notifying the probation officer at least 10 days in advance is not possible due to
unanticipated circumstances, you must notify the probation officer within 72 hours of becaming aware of a change ar expected change.

8. You must not communicate or interact with someone you know is engaged in criminal activity. If you know someone has been convicted
of a felony, you must not knowingly communicate or interact with that person without first getting the permission of the probation officer.
9. If you are arrested or questioned by a law enforcement officer, you must notify the probation officer within 72 hours.

40. You must not own, possess, or have access to a firearm, ammunition, destructive device, or dangerous weapon (.e., anything that was
designed, or was modified for, the specific purpose of causing bodily injury or death to another person such as nunchakus or tasers).

11. You must not act or make any agreement with a law enforcement agency to act as a confidential human source or informant without first
getting the permission of the court.

12. If the probation officer determines that you pose a risk to another person {including an organization), the probation officer may require you
to notify the person about the risk and you must comply with that instruction. The probation officer may contact the person and confirm
that you have notified the person about the risk.

43. You must follow the instructions of the probation officer related to the conditions of supervision.

U.S. Probation Office Use Only

A U.S. probation officer has instructed me on the conditions specified by the court and has provided me with a written copy of this judgment
containing these conditions. For further information regarding these conditions, see Overview of Probation and Supervised Release Conditions,
available at: www.uscourts.gov.

Defendant's Signature Date

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DEFENDANT: EDWARD LAMONT GLOVER
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SPECIAL CONDITIONS OF SUPERVISION

The defendant shall abide by the mandatory and standard conditions of supervised release.

The defendant shall cooperatively participate in a mental health treatment program, which may include inpatient treatment, and pay for those
treatment services, as directed by the probation officer.

The defendant shall submit to substance abuse testing, at any time, as directed by the probation officer. The defendant shall cooperatively
participate in a substance abuse treatment program, which may include drug testing and inpatient or residential treatment, and pay for those
treatment services, as directed by the probation officer. During the course of any treatment, the defendant shall abstain from the use of alcoholic
beverages.

The defendant shall submit his person, residence, office, vehicle, or any property under his contro! to a warrantless search. Such search shall be
conducted by a United States Probation Officer at a reasonable time and in a reasonable manner, based upon reasonable suspicion of
contraband or evidence of a violation of a condition of release. Failure to submit to such a search may be grounds for revocation; the defendant
shall warn any residents that the premises may be subject to searches.

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AO 2458 (NCMD Rev. 01/20) Sheet 5 - Criminal Monetary Penalties Page 6 of 8

DEFENDANT: EDWARD LAMONT GLOVER
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CRIMINAL MONETARY PENALTIES

The defendant must pay the total criminal monetary penalties under the schedule of payments on Sheet 6.

Assessment Restitution Fine AVAA Assessment* JVTA Assessment
TOTALS $100.00 $.00 $.00
Oo The determination of restitution is deferred until _ An Amended Judgment in a Criminal Case (AO 245C) will be entered

after such determination.

(C1 The defendant must make restitution (including community restitution) to the following payees in the amount listed below.

\f the defendant makes a partial payment, each payee shall receive an approximately proportioned payment, unless specified otherwise

in the priority order or percentage payment column below. However, pursuant to 18 U.S.C. § 3664(i), all nonfederal victims must be paid
before the United States is paid.

C1 Restitution amount ordered pursuant to plea agreement $

(+The defendant must pay interest on restitution and a fine of more than $2,500, unless the restitution or fine is paid in full before the
fifteenth day after the date of the judgment, pursuant to 18 U.S.C. § 361 2(f). All of the payment options on Sheet 6 may be subject
to penaities for delinquency and default, pursuant to 18 U.S.C. § 3612(g).

(]_ The court determined that the defendant does not have the ability to pay interest and it is ordered that:

the interest requirement is waived pursuant to 18 U.S.C. Section 3612(f}{3) for the Ofine 1 restitution.

Othe interest requirement for the O fine C restitution’is modified as follows:

* Amy, Vicky, and Andy Child Pornography Victim Assistance Act of 2018, Pub. L. No, 115-299.

#* Justice for Victims of Trafficking Act of 2015, Pub. L. No. 114-22.

““* Findings for the total amount of losses are required under Chapters 109A, 110, 110A, and 113A of Title 18 for offenses committed
on or after September 13, 1994, but before April 23, 1996.

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AO 245B INCMD Rev. 01/20) Sheet 6 - Schedule of Payments Page T of &

DEFENDANT: EDWARD LAMONT GLOVER
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SCHEDULE OF PAYMENTS

Having assessed the defendant's ability to pay, payment of the total criminal monetary penalties is due as follows:

A Lump sum payment of $100.00 due immediately, balance due
C) not later than or

CO inaccordancewith 1 c, Ob, OE, or CF below; or
BC] Payment to begin immediately (may be combined with [C1 c, 1 D,or CI F betow); or

Cc CL) Paymentinequal_ (e.g. weekly, monthly, quarterly) installments of $ over a period of (e.g., months or years),
to commence (e.g., 30 or 60 days) after the date of this judgment; or

DC) Payment in equal (e.g. weekly, monthly, quarterly) installments of $ over a period of (e.g., months or years),
to commence (e.g., 30 or 60 days) after release from imprisonment to a term of supervision; or

E CL Payment during the term of supervised release will commence within (e.g., 30 or 60 days) after release fram imprisonment.

The court will set the payment plan based on an assessment of the defendant's ability to pay at that time; or
F CJ _ Special instructions regarding the payment of criminal monetary penalties:

Unless the court has expressly ordered otherwise, if this judgment imposes imprisonment, payment of criminal monetary penalties is due during
imprisonment. All criminal monetary penalties, except those payments made through the Federal Bureau of Prisons’ Inmate Financial
Responsibility Program, are to be made to the Clerk of Court, United States District Court for the Middle District of North Carolina, 324 West
Market Street, Greensboro, NC 27401-2544, unless otherwise directed by the court, the probation officer, or the United States Attorney.
Nothing herein shall prohibit the United States Attorney from pursuing collection of outstanding criminal monetary penalties.

The defendant shall receive credit for all payments previously made toward any criminal monetary penalties imposed.

[1] Joint and Several

Defendant and Co-Defendant Names, Case Numbers (including defendant number), Total Amount, Joint and Several Amount, and
corresponding payee, if appropriate.

{1 The defendant shall pay the cost of prosecution.
[J The defendant shall pay the following court cost(s):

C] The defendant shall forfeit the defendant's interest in the following property to the United States:

Payments shall be applied in the following order: (1) assessment; (2) restitution principal; (3) restitution interest, (4) AVAA
assessment, (5) fine principal, (6) fine interest, (7) community restitution, (8) JVTA assessment, (9) penalties, and (10) costs, including
cost of prosecution and court costs.

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AO 2456 (NCMD Rev. 01/20) Sheet 6 - Schedule of Payments Page 8 of &

DEFENDANT: EDWARD LAMONT GLOVER
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DISPOSITION OF EVIDENCE

Any firearms seized may be returned to a lawful, rightful owner if one can be located upon reasonable efforts

by the United States, and, if not, destroyed at the conclusion of any appeals period. Any contraband seized shall
be destroyed at the conclusion of any appeals period.

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